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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


NORTHWEST IMMIGRANT RIGHTS                           )
PROJECT, AYUDA, INC., and                            )
CASA DE MARYLAND, INC.,                              )
                                                     )
                      Plaintiffs,                    )
                                                     )
       v.                                            )               Case No. 19-cv-03283-RDM
                                                     )
UNITED STATES CITIZENSHIP                            )
AND IMMIGRATION SERVICES,                            )
DEPARTMENT OF HOMELAND                               )
SECURITY, CHAD F. WOLF, in his                       )
official capacity as Acting Secretary of             )
Homeland Security, and KENNETH                       )
T. CUCCINELLI, in his official capacity              )
as Senior Official Performing the Duties of the      )
USCIS Director and Senior Official Performing        )
the Duties of the Deputy Secretary of                )
Homeland Security,                                   )
                                                     )
                      Defendants.                    )
                                                     )

           REPLY MEMORANDUM IN SUPPORT OF PLAINTIFFS’
      MOTION FOR SECTION 705 RELIEF AND PRELIMINARY INJUNCTION


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                                        INTRODUCTION

       Defendants’ 2020 Fee Rule dramatically increases the fees charged to immigrants seeking

to live and work in the United States. Because the rule is based on the actions of two people

unlawfully serving as acting secretaries, it is void. In addition, the 2020 Fee Rule is unlawful in

three other ways. It was issued in violation of Administrative Procedure Act (APA) notice-and-

comment requirements; it is arbitrary and capricious; and it seeks to make immigrants pay for

agency operations that, under the Immigration and Nationality Act (INA), the Department of

Homeland Security has no authority to fund in this way. Defendants (hereafter, DHS) fail to rebut

plaintiffs’ arguments or their showing of the severe harms the rule will cause. This Court should

grant plaintiffs’ motion to postpone, stay, and enjoin unlawful immigration filing fees that, because

they are unaffordable, will put immigrants at risk of removal and cause other immediate and

irreparable harm.

                                          ARGUMENT

I.     The 2020 Fee Rule was issued without authority and cannot be ratified.

       The 2020 Fee Rule was proposed by Kevin K. McAleenan and adopted by defendant Chad

F. Wolf. Neither had authority to serve as acting DHS secretary at the time he took that action. See

Dkt. 50 at 25-32. DHS does not dispute that each lacked authority under the Federal Vacancies

Reform Act (FVRA). Instead, DHS argues that: (1) McAleenan had authority to serve under the

Homeland Security Act (HSA), 6 U.S.C. § 113(g)(2), pursuant to Kirstjen Nielsen’s April 2019

amendment to a 2016 order issued by Jeh Johnson, (2) Wolf had authority to serve pursuant to

McAleenan’s November 2019 amendment to the Johnson order, (3) earlier this month, Wolf was

re-designated as acting secretary by Federal Emergency Management Agency (FEMA)

Administrator Peter Gaynor who, purporting to exercise authority as acting secretary, signed a


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document to supersede the Johnson order, and (4) Wolf has now ratified his own actions. See Dkt.

69-3 at 47-52. DHS’s arguments lack merit.

       A. Nielsen did not give McAleenan authority to serve as acting secretary.

       The Johnson order addresses who will fill certain DHS positions when the appointed

official is absent. The order points to Executive Order No. 13,753, 81 Fed. Reg. 90,667 (Dec. 9,

2016), regarding the president’s authority under the FVRA, for the line of succession after a

secretary’s resignation, death, or inability to perform the office’s functions. See Dkt. 50-4 at 61.

Through its Annex A, the Johnson order designates a different line of succession for when the

secretary is “unavailable to act during a disaster or catastrophic emergency.” Id. Pursuant to the

HSA, 6 U.S.C. § 113(g)(2), Nielsen had authority to set a new order of succession that would apply

when she resigned. But her April 2019 amendment did not do so. It amended only Annex A,

regarding disasters and catastrophic emergencies. See Dkt. 50-4 at 128.

       In April 2019, DHS recognized the limited scope of Nielsen’s amendment. The agency

incorporated Nielsen’s amendment into the Johnson order, retaining its main text and updating

only Annex A. See Dkt. 50-4 at 61-65. Months later, when McAleenan was purportedly in charge,

he issued a separate order to revise the main text of the Johnson order, such that Annex A (not

Executive Order No. 13,753) would govern when a secretary resigned, as well as in event of a

disaster or emergency. See id. at 129; see also id. at 94 (revised Johnson order).

       Now, however, DHS argues that Nielsen’s April 2019 amendment accomplished what

McAleenan later sought to do: change the text of the Johnson order to state that Annex A would

control if the secretary resigned. See Dkt. 69 at 18. Although DHS asks for deference, see id. at

22, its post-hoc interpretation of Nielsen’s amendment, which conflicts with the agency’s earlier




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understanding of the same document, should not be credited by this Court. See DHS v. Regents of

the Univ. of Cal., 140 S. Ct. 1891, 1909 (2020); Kisor v. Wilkie, 139 S. Ct. 2400, 2417 (2019).

       Moreover, the plain text of Nielsen’s amendment belies DHS’s suggestion of ambiguity.

Nielsen’s order states that “Annex A … is hereby amended by striking the text of such Annex in

its entirety and inserting [a new list] in lieu thereof.” Dkt. 50-4 at 128. Nonetheless, DHS suggests

Nielsen’s amendment must apply to resignations because the cover memo and introduction refer

to “order of succession” and 6 U.S.C. § 113(g)(2). See Dkt. 69 at 18, 19, 21, 22. But Nielsen’s

amendment stated that it did only one thing: “strik[e]” and replace Annex A. Dkt. 50-4 at 128. It

made no mention of resignation or the body of the Johnson order. And Nielsen’s amendment was

entirely consistent with the term “order of succession” and section 113(g) because that provision

uses “order of succession” to refer to what happens when a secretary is unavailable “by reason of

absence [or] disability,” as well as “vacancy of office.” In amending Annex A, therefore, Nielsen

did change an HSA order of succession: the one applicable during the secretary’s unavailability

due to a disaster or catastrophic emergency. See CASA de Maryland, Inc. v. Wolf, __ F. Supp. 3d

___, No. 8:20-CV-02118-PX, 2020 WL 5500165, at *22 (D. Md. Sept. 11, 2020). Indeed, if DHS

were right that “order of succession” excludes reference to disasters or emergencies, Nielsen’s

amendment would make no sense, as it indisputably addresses those circumstances.

       DHS suggests that Nielsen’s amendment has a broader scope than its plain language by

emphasizing that Johnson’s order used the term “delegation of authority” to title the “order of

succession” listed in Annex A. See Dkt. 69 at 20, 21. But, as DHS notes, when Johnson issued his

order, section 113(g) was not yet law; his order mimicked the language of the FVRA, in addressing

resignations, and put emergencies and disasters in a different category. See Dkt. 69 at 20. Unlike

the FVRA, the HSA expressly uses the term “order of succession” to refer to any “absence” or

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“disability” that means the secretary is not “available,” which would include unavailability due to

a disaster or emergency. Compare 5 U.S.C. § 3345(a) (FVRA) with 6 U.S.C. § 113(g)(1) (HSA).

Cf. In re Grand Jury Investigation, 916 F.3d 1047, 1055 (D.C. Cir. 2019) (interpreting recusal to

constitute a “disability” that “created a vacancy”). Notably, Nielsen’s amendment both followed

the Johnson order’s format and accorded with section 113. While recognizing that she was

amending an order of succession, Nielsen repeated the Johnson order’s heading for Annex A. See

Dkt. 50-4 at 128 (“Order for Delegation of Authority”). She did not use the more expansive

heading that both Johnson and she used on annexes applying to resignations and disasters. See,

e.g., Dkt. 69-3 at 45 (“Orders of Succession and Orders for Delegations of Authorities”). For

similar reasons, it is irrelevant that Nielsen’s amendment used the term “designation.” Nielsen’s

announcement regarding McAleenan also does not change her order’s plain meaning.

       DHS suggests that this Court should ignore DHS’s updated version of the Johnson order,

which is consistent with the plain text of Nielsen’s amendment. See Dkt. 69 at 18, 23. But this

document is an official agency order, recognized by the government as “the only written repository

that memorializes Secretary’s changes to the succession order.” CASA, 2020 WL 5500165, at *22.

Moreover, it reflects DHS’s contemporaneous implementation of Nielsen’s amendment, “not

simply convenient litigating positions.” Regents, 140 S. Ct. at 1909. DHS’s suggestion that the

updated order was a mistake is hardly plausible; DHS retained the order until McAleenan issued

an amendment directing that Annex A would apply if the secretary resigned. See Dkt. 50-4 at 129.

McAleenan’s decision to issue a new amendment “reinforces the conclusion that at the time of

Nielsen’s resignation, Executive Order 13753 [not Annex A] governed the order of succession.”

La Clinica De La Raza v. Trump, ___ F. Supp. 3d. ___, No. 19-CV-04980-PJH, 2020 WL

4569462, at *14 (N.D. Cal. Aug. 7, 2020).

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       B. Wolf has never had authority to serve as acting secretary.

       McAleenan’s November 2019 amendment purported to designate Wolf as the next

available official in line to serve as acting secretary. See Dkt. 50-4 at 129. But McAleenan had no

authority to pick a successor in this way. As explained above, McAleenan’s designation was never

lawful under Nielsen’s order. Further, even if his initial designation was valid, he had no authority

to amend the Johnson order when he did. See Dkt. 50 at 28-32.

       First, an acting secretary does not have authority to change the order of succession under

the HSA. DHS cites the authority of acting officials under other statutes. See Dkt. 69 at 24-25. But

it makes no attempt to account for the HSA, which distinguishes the terms “Secretary” and “Acting

Secretary” when discussing succession order. Section 113(g)(1) and (2) work together. The only

way “Secretary” makes sense in this scheme is to refer to a Senate-confirmed Secretary. It uses

“Acting Secretary” to refer to the person filling the position temporarily. Further, replacing

“Secretary” with “acting secretary” makes paragraph 113(g)(1) illogical; because (g)(2) is

inextricably linked, it should be read similarly. This narrow use of the term “Secretary” is

consistent with 6 U.S.C. § 112(a), whose context also makes clear that it refers only to a Senate-

confirmed Secretary. But contrary to DHS’s suggestion, plaintiffs’ argument does not mean that

an acting secretary is barred from performing other duties of the secretary.

       DHS’s reading of the HSA also creates a constitutional concern. See Dkt. 50 at 30. DHS’s

reading would empower an acting secretary to choose a replacement, who could then do the same,

over and over, just as McAleenan, and now Gaynor, have attempted. See Dkt. 69-3 at 47-48. And

although DHS is right that a nomination interrupts this chain, it is also true that permitting officials

to pass the buck in this way will both place the choice of an acting Cabinet official outside the

hands of a Senate-confirmed officer and expand the ways for the President to avoid “accountability


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for selecting acting officials,” by enabling an ever-expanding pool of people to be put forward to

take the role. L.M.-M. v. Cuccinelli, 442 F. Supp. 3d 1, 28 (D.D.C. 2020). The resulting risk of a

lengthier series of acting officials and an expansion of appointment authority raise constitutional

concerns. See Freytag v. Comm’r, 501 U.S. 868, 886 (1991) (interpreting Appointments Clause in

a way that “constrains the distribution of the appointment power” to agency-heads who “share the

President’s accountability to the people” rather than “diffuse” it). Again, the present circumstances

illustrate the problem. Here, the president declined to nominate anyone to replace Nielsen until

Wolf’s legitimacy was challenged. See Dkt. 69-3 at 50. In re Grand Jury Investigation, 916 F.3d

at 1054, which DHS cites, involves statutory analysis and different facts: an acting attorney general

appointing a subordinate inferior officer.

       Second, McAleenan lacked authority because the FVRA imposes a 210-day time limit on

acting service, 5 U.S.C. § 3346(a), which expired before his attempt to amend the Johnson order.

DHS attempts to place the HSA outside the reach of the FVRA limit by discussing Congress’s

intent regarding statutes pre-dating the FVRA. But the FVRA’s time limit regarding later

enactments, like the HSA, is clear. A 210-day limit applies, id., unless another statute “expressly”

allows some other way to designate acting officials to serve “temporarily,” id. at § 3347(a). The

HSA is silent on a time limit, and thus does not “expressly” override this aspect of the FVRA. To

the contrary, the HSA’s text indicates that it was meant to incorporate the 210-day limit. And, if

read to exclude the FVRA limit, the HSA would be inconsistent with section 3347’s limit to

officials serving “temporarily.” See Dkt. 50 at 31-32; Dkt. 53 at 19-23.

       DHS points to the term “notwithstanding” in the HSA, 6 U.S.C. § 113(g)(2), but as

plaintiffs have explained, that term overrides only the part of the FVRA in conflict with the HSA:

provisions regarding who can designate an acting official. See Dkt. 50 at 32; Dkt. 53 at 21. DHS

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errs in reading the term to override the FVRA’s separate time limit. The HSA, § 113(g)(2), states

that it applies “notwithstanding” all of chapter 33 of title 5. Nothing suggests that through section

113(g), Congress intended to abrogate the large swaths of federal hiring law addressed in chapter

33, but that is what the provision would do under DHS’s reading.

       DHS acknowledges that the Constitution requires acting officials to be temporary; then it

attempts to skirt the issue by suggesting the HSA incorporates some unwritten, unspecified time

limit (but not the FVRA one). See Dkt. 69 at 29. This argument proves plaintiffs’ point: Without

a time limit (which the HSA does not provide), acting service raises a serious constitutional

concern. See Dkt. 50 at 32.

       C. DHS’s ultra vires rule is void.

       The remedy for DHS’s ultra vires action is to recognize it as void and vacate it, under the

FVRA and APA. Wolf performed a “function or duty of a vacant office to which … [section]

3347… applies,” and he did so without authority “under section 3345, 3346, or 3347, or as

provided by [3348](b).” 5 U.S.C. § 3348(d)(1). His action therefore has no “force or effect.” Id.

Even if section 3348(d)(1) does not apply, this Court must set aside the 2020 Fee Rule under APA

principles because it is contrary to law, taken “in excess of statutory … authority,” and, due to

McAleenan’s improper appointment, issued without observance of required rulemaking

procedure, under 5 U.S.C. § 706(2). See Dkt. 50 at 32-33; L.M.-M., 442 F. Supp. 3d at 35-36.

       D. Wolf’s attempt at ratification does not cure the problem.

       DHS argues that any HSA and FVRA problem has been cured by Wolf’s ratification, after

FEMA Administrator Gaynor briefly purported to exercise the authority of acting secretary,

apparently in order to designate Wolf as the acting secretary. See Dkt. 69 at 29-31. But the

ratification does not apply. First, Gaynor’s order did not make Wolf’s appointment valid because,


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as discussed above, an acting secretary cannot change the succession order. See Dkt. 50 at 29-31.

Second, DHS has not suggested Gaynor was actually acting secretary (or that he resigned). See

Dkt. 69-3 at 47; see also Executive Order No. 13,753 (stating that President can depart from list).

Third, Wolf’s ratification does not apply because FVRA section 3348(d)(2) prohibits ratification

of actions that have “no force or effect” under section 3348(d)(1). Such actions are ones taken by

improperly serving acting officials “in the performance of any function or duty of a vacant office.”

5 U.S.C. § 3348(d)(1). As this Court has recognized, a “function or duty,” in the meaning of section

3348, is one “assigned to one particular office” by “statute or regulation,” even if that function is

subject to a general “vesting-and-delegation” statute like 6 U.S.C. § 112(b)(1). L.M.-M., 442 F.

Supp. 3d at 31-32. Rulemaking is such a function. See 6 U.S.C. § 112(e); 8 U.S.C. § 1103(a)(3).1

       DHS nevertheless asserts that section 3348(d)(2) does not apply here due to a 2003

delegation to the deputy secretary. See Dkt. 69 at 32. But DHS does not state that the 2003

document is still operative. Its text suggests that it is not, since it addresses what happens when

the secretary resigns or is absent, a topic now addressed by the Johnson order and 6 U.S.C. § 113.

See Dkt. 69-3 at 54-55. And even if still operative, the order only states that the deputy secretary

may “[a]ct for the Secretary to sign, approve, or disapprove” proposed or final rules. Dkt. 69-3 at

54 (emphasis added). In other words, it makes the deputy secretary the agent of the secretary, with

authority to act on the secretary’s behalf (but not the agency’s). And it does so only for a portion

of the rulemaking process. The rulemaking function, therefore, remains exclusive to the Secretary




       1
          DHS also suggests that section 3348(d) does not apply because Wolf was designated
under the HSA. See Dkt. 69 at 31 n.22 But section 3348(d)(1) refers to actions taken without
authority “under section 3345, 3346, or 3347,” for offices to which section 3347 (and others) apply.
It thus applies to offices governed by section 3347, regarding non-FVRA statutes like the HSA.

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under 6 U.S.C. § 112(e) and 8 U.S.C. § 1103(a)(3). In any case, regardless of the 2003 document’s

meaning, it does not change that rulemaking is a function “established by statute” and that is

“required by statute to be performed by the [Secretary] (and only [the Secretary]).” 5 U.S.C.

§ 3348(a)(1)(A) (emphasis added). Indeed, if this Court accepted DHS’s suggestion that a

document like the 2003 one nullifies 3348(d)’s remedy, that would render section 3348(d) largely

“meaningless” for an agency with a general “vesting-and-delegation” statute. L.M.-M, 442 F.

Supp. 3d at 32. Upon her departure, Nielsen could have written an order to share all her duties with

McAleenan, effectively making him acting secretary by delegation; indeed, the 2003 document

attempts a similar “delegation” in event of resignation or absence, though DHS does not cite that

part of it. See Dkt. 69-3 at 54-55. Such abuse of vesting-and-delegation is what the FVRA aims to

prohibit. See 5 U.S.C. § 3347(b); L.M.-M, 442 F. Supp. 3d at 34; S. Rep. No. 105-250 at 3 (1998).

II.    DHS did not provide adequate notice of the rule and its calculations.

       As plaintiffs have explained, the 2020 Fee Rule is also unlawful because the barebones

information in DHS’s Fee Proposal was insufficient to enable meaningful comment on DHS’s

budget figures and its related calculations. See Dkt. 50 at 33-37. DHS responds by suggesting that

its calculations were reasonable. See Dkt. 69 at 33, 35 & n.27. But that response does not address

the point that DHS failed to provide notice. DHS also suggests that it should be enough for

commenters to know that DHS thinks it needs more money. See Dkt. 69 at 35. DHS’s budget

estimates and its division of that budget into per-application fees, however, were “central to [the

agency’s] decision to adopt” the rule, and thus the agency was required to make available the

underlying “model[s] and [their] methodology.” Owner-Operator Indep. Drivers Ass’n, Inc. v.

Fed. Motor Carrier Safety Admin., 494 F.3d 188, 201 (D.C. Cir. 2007). It is not enough to assert

that, without more money, operations risk “degrading,” without even explaining what that means


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or how DHS reached that conclusion. DHS points to the proposal’s acknowledgements that

calculations were made and piecemeal numbers, but these do not satisfy notice-and-comment

requirements when DHS “failed to reveal key assumptions” of even the most basic type, such as

why it expects to need the asserted budget. See Dkt. 50 at 33-37. Similarly, in Shands Jacksonville

Med. Ctr. v. Burwell, 139 F. Supp. 3d 240 (D.D.C. 2015), the Department of Health and Human

Services issued a rule reducing Medicare reimbursements to hospitals, based on the agency’s

estimates of the costs of implementing a new policy, id. at 248-49, but failed to disclose the

“actuarial basis” for its cost predictions or “explain the underlying assumptions,” id. at 261. This

Court held that the agency thus “deprived … the public of a meaningful opportunity to comment.”

Id. at 263. The same is true here. DHS’s failure is particularly grave because the rule rests on

complicated calculations. “Public notice and comment regarding relied-upon technical analysis …

are the safety valves in the use of sophisticated methodology.” Am. Radio Relay League, Inc. v.

FCC, 524 F.3d 227, 236 (D.C. Cir. 2008) (Rogers, J., opinion for court) (cleaned up).2

       As plaintiffs explained, the error is prejudicial. See Dkt. 50 at 24. When, as here, the

agency’s calculations are a “black box,” Shands, 139 F. Supp. 3d at 265, the agency’s “failure to

provide an opportunity for meaningful comment create[s] enough uncertainty as to its possible

effect on the agency’s disposition … to preclude reliance on the prejudicial-error doctrine,” id. at

266 (cleaned up). “[A]bsent some insight into how” DHS’s “conclusion[s] [were] reached it [wa]s

not possible to explain where and why the agency went wrong.” Id. at 265. See also Dkt. 50-1 at




       2
          DHS notes that it provided a software demonstration to some commenters, but that did
not satisfy DHS’s notice obligation. Among other things, it was billed as an opportunity to access
software, not understand DHS’s budget. See 84 Fed. Reg. 62,280, 62,281 (Nov. 14, 2019). And
according to DHS, it provided nothing “not in the record for the NPRM and in the docket.” 85 Fed.
Reg. 46,788, 46,869 (Aug. 3, 2020).

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21 (Second Barón Decl. ¶¶ 49-52); Dkt. 50-2 at 15 (Ball Cooper Decl. ¶ 36), Dkt. 50-3 at 14

(Escobar Decl. ¶ 43) (explaining that plaintiffs would have responded if further detail had been

provided).

       In addition to failing to explain its calculations, DHS adopted new biometrics fees without

notice. See Dkt. 50 at 37. DHS suggests, incorrectly, that those biometrics fees simply maintain

DHS’s current practice. The fees correspond to biometrics requirements that DHS introduced after

it published the Fee Proposal. See 85 Fed. Reg. at 46,833. And, rather than maintaining the

distinction between application and biometrics fees that is present under current law, the 2020 Fee

Rule gives applicants the worst of both worlds. It generally subsumes biometrics fees into

application fees and adds a new biometrics fee for certain applicants. The public could not

anticipate this result, especially because the proposal suggested DHS would provide a new

comment opportunity if a situation like this arose. See 84 Fed. Reg. at 62,302 (stating that if DHS

decides to require new biometrics checks, it “may propose” a fee increase).

       The public also could not have anticipated the rule’s surcharge for paper-filed applications.

See Dkt. 50 at 37. DHS does not deny that no notice was given but instead misleadingly defends

the surcharge as a discount for online applications. DHS’s rule “adjusts the fees for filing

applications on paper when online filing is available to be higher than those fees would [otherwise]

be.” 85 Fed. Reg. at 46,832 (emphasis added). Moreover, DHS’s description of the surcharge is

irrelevant to whether the public had notice of the higher cost for paper-filed applications.

III.   The 2020 Fee Rule is arbitrary and capricious.

       A. DHS’s calculations are unexplained and unreasonable.

       The 2020 Fee Rule is arbitrary and capricious because it fails to explain the basis of DHS’s

asserted budget and its division of that budget into per-application fees. See Dkt. 50 at 38-49. In


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response, DHS identifies no record material explaining the assumptions it made. DHS’s assertion

of a “growing funding gap,” Dkt. 69 at 38, is not an explanation. See, e.g., Stewart v. Azar, 313 F.

Supp. 3d 237, 271 (D.D.C. 2018) (holding that the agency would not have been able to support a

decision based on a concern about keeping a program financially afloat when the record “lacks

substantial evidence” of such a problem, the agency “made no effort to contextualize” purported

savings, “basic questions remain,” and the agency did not explain why its action “would be the

best remedy for budget woes”). DHS cites to a sentence in the 2020 Fee Rule, which lists some

factors causing costs to grow “more than expected” since 2016. 85 Fed. Reg. at 46,876. But that

sentence does not explain any “important step[s] in the agency’s analysis.” Owner-Operator, 494

F.3d at 204. It purports to respond to commenters’ concerns about backlogged applications, not

DHS’s calculations. It does not explain the rule’s assumptions or the extent to which, in the past

four years, DHS has already accounted for the mentioned costs. And while the statement focuses

on adjudicators, DHS asserts that compared to 2016 staffing estimates, it seeks to fund the largest

increase in staff in a different area: its Fraud Detection and National Security Directorate. See Fee

Rule AR 832 (2020 IEFA document at 42). None of the other material DHS cites provide the

“basis for a number of key assertions.” Engine Mfrs. Ass’n v. EPA, 20 F.3d 1277, 1282 (D.C. Cir.

1984). Its footnote 30 notes that its modeling excludes certain fees, but that fact underscores DHS’s

lack of reasoning: it claimed an impending deficit without considering all revenue.

       DHS’s attempts to reconcile other aspects of the rule with the record are also unavailing.

For instance, DHS attempts to justify its assumption that immigrants are insensitive to filing fees

by repeating its assertion that it saw “no or limited decreases” in benefit requests after other fee

increases. Dkt. 69 at 39 (quoting 85 Fed. Reg. at 46,798); see also id. at 40 (similar). At most, that

assertion creates an internal contradiction, because the 2020 Fee Rule elsewhere states that DHS

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has no information on the topic, see id. at 46,895, and still elsewhere, acknowledges DHS’s

conclusion, see id. 46,882, 46,891, and evidence, see id. at 46,799, 46,818, that fees do affect

immigrants’ actions. Dkt. 50 at 41, 56. This inconsistency alone renders the rule arbitrary and

capricious. See ANR Storage Co. v. FERC, 904 F.3d 1020, 1024 (D.C. Cir. 2018).

       Moreover, DHS’s cited data do not establish that immigrants are price insensitive. DHS

only cites data regarding naturalization, recognizes that it has seen some filing decreases following

fee increases, and does not address the elimination of fee waivers. See 85 Fed. Reg. at 46,798; see

generally Dkt. 59 at 41-42.3 DHS’s suggestion that the pandemic caused applications to drop, see

Dkt. 69 at 39 (citing 85 Fed. Reg. at 46,793), supports the contrary conclusion: that when

immigrants are financially stressed, application rates drop.

       DHS also relied on inaccurate data. Despite the references in its opposition memorandum

to 2019, DHS “conducted most of the FY 2019/2020 fee review in FY 2017.” 85 Fed. Reg. at

46,793. DHS’s citation to cases regarding agencies’ use of reasonable estimates does not excuse

its use of these outdated figures: DHS admitted they were inaccurate, without providing any reason

to believe they approximated the agency’s future experience. See Dkt. 50 at 39-41. For instance,

DHS cites Air Transp. Ass’n of Am. Inc. v. USDA, 303 F. Supp. 3d 28 (D.D.C.), amended in part,

317 F. Supp. 3d 385 (D.D.C. 2018). But that case stated that: “an agency cannot be faulted for




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          The figures shed no light on price sensitivity for other reasons. The 2015 and 2017 figures
relate to a 2016 rule that created a reduced fee for certain applicants, and thus had a mixed effect
on fees. The rule went into effect in a presidential election year, which can change volumes,
independently of fees. Fiscal year 2017 included months when the old fees were in effect. See 81
Fed. Reg. 73,292, 73,307 (Oct. 24, 2016); Written Testimony of Joseph B. Edlow for a Hearing on
“Oversight of U.S. Citizenship and Immigration Services,” Before the House Committee on the
Judiciary, Subcommittee on Immigration and Citizenship, July 29, 2020, at 3, https://docs.house.
gov/meetings/JU/JU01/20200729/110946/HHRG-116-JU01-Wstate-EdlowJ-20200729.pdf.

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using the data available to it to the best of its ability, but must evaluate why limited data was

available.” Id. at 56. It concluded that the plaintiffs “provid[ed] no reason to believe data from

other fiscal years would have been more reliable.” Id. at 57. Here, DHS ignored “data available to

it” and plaintiffs have shown plenty of reasons that “data from other fiscal years would have been

more reliable.” See Dkt. 50 at 39-41 & n.10. DHS’s assertion to the contrary (at 39) is simply

wrong. DHS suggests that DHS’s treatment of two amounts made its figures current. But the

description is inaccurate and does not address other changes in data and operations since 2017 or

the cost savings that DHS ignored. See 85 Fed. Reg. at 46,839, 46,874, 46,876. This is not a

question, therefore, of whether DHS used the “best data imaginable” as DHS suggests (at 39).

DHS made no attempt even to approximate realized cost savings or consider recent data. Whatever

latitude agencies have to make reasonable estimates, they “do not have free rein to use inaccurate

data” and must “examine the relevant data … which … could reveal, inter alia, that the figures

being used are erroneous.” Dist. Hosp. Partners, L.P. v. Burwell, 786 F.3d 46, 56-57 (D.C. Cir.

2015); see also Pub. Citizen v. Fed. Motor Carrier Safety Admin., 374 F.3d 1209, 1219 (D.C. Cir.

2004) (“The mere fact that the magnitude of [certain] effects is uncertain is no justification for

disregarding the effect entirely”) (emphasis in original).

       For these reasons, DHS’s calls for deference fall flat. See Dkt. 69 at 38. Although this court

may “defer[] to administrative agencies on matters relating to their areas of technical expertise,”

deference does not mean that a court “simply accept[s] whatever conclusion an agency proffers

merely because the conclusion reflects the agency’s judgment.” Tripoli Rocketry Ass’n, Inc. v.

Bureau of Alcohol, Tobacco, Firearms, & Explosives, 437 F.3d 75, 77 (D.C. Cir. 2006). This Court

must always “ascertain that the agency has made a reasoned decision based on reasonable

extrapolations from some reliable evidence.” Id. at 83 (citation omitted). DHS has not done so

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here. And the rule does not rest on technical expertise; DHS disclaimed knowledge of how fees

affect filings and the impact of cost-saving measures. See 85 Fed. Reg. at 46,868, 46,882, 46,895.

       B. DHS failed to explain its rule in other regards.

       Current law uses multiple measures to keep immigration filings affordable: fee waivers

and exemptions, no-fee filings, and capped fee increases. See Dkt. 50 at 16-18. The 2020 Fee Rule

gets rid of many of them. See Dkt. 50 at 20, 42-43. DHS asserts that these changes are supported

by the agency’s desire for more funds and what it terms a “beneficiary pays” principle. But DHS

did not provide a reasoned justification for its choices. The changes are tied to an unexplained and

unreasonable budget, as well as unreasonable assumptions about filing trends, and unsupported

assertions about the impact of these changes. See Dkt. 50 at 39-42; see, e.g., 84 Fed. Reg. at 62,292

(tying fee-waiver proposal to budget). Further, in multiple other ways, DHS relied on unsupported

assertions, ignored important aspects of the problem, and failed to explain its reasoning.

       For instance, DHS failed to acknowledge its earlier findings on which the current fee

exemptions and other similar measures rest, such as: that “a large percentage of applicants would

clearly be unable to pay” fees for which DHS provided exemptions, 75 Fed. Reg. 58,962, 58,973

(Sept. 24, 2010); a reduced fee would “help ensure that those …eligible for naturalization are not

limited by their economic means,” 81 Fed. Reg. at 73,307; and that otherwise-calculated fees (that

DHS capped) could be “overly burdensome,” id. at 73,297. DHS responds by suggesting that such

detail was unnecessary. But since these conclusions underpin current law, DHS had an obligation

to explain any “inconsistency between its current view … and its prior conclusion.” Bauer v.

DeVos, 325 F. Supp. 3d 74, 109 (D.D.C. 2018). Indeed, DHS’s calculations rest on a contrary

assumption: that individuals no longer need measures to keep U.S. Citizenship and Immigration

Services (USCIS) fees affordable. See Dkt. 50 at 41. Yet DHS failed to explain its “contrary-to-


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fact position.” United Steel v. Mine Safety & Health Admin., 925 F.3d 1279, 1284 (D.C. Cir.

2019).4

          In other ways as well, DHS failed to explain it elimination of measures that keep fees

affordable. Its revenue-raising goals cannot be reconciled with its decision to impose fees on

individuals it earlier concluded could not pay them. Again, DHS did not explain whether or why

it changed its earlier conclusions. See Dkt. 50 at 41-42, 43. Further, “beneficiary pays” does not

accurately represent DHS’s choices. The 2020 Fee Rule does not flip a switch from an “ability to

pay” system to a “beneficiary pays” system. Current law generally forces immigrants to pay

USCIS fees, but allows exceptions. The 2020 Fee Rule does the same, though with far fewer

exceptions. Thus, both are “beneficiary pays” systems, and mere use of the term does not explain

why DHS decided to keep some fees affordable but not others. See GAO, Federal User Fees: A

Design Guide 10-11 (May 2008), https://www.gao.gov/assets/210/203357.pdf (citing 2007 DHS

fee rule as example of a beneficiary pays system, while recognizing that fee exemptions can be

part of such a system).5

          As plaintiffs have explained, DHS also failed to justify excluding naturalization appeals

and certain vulnerable youth from waivers that could make applications affordable. See Dkt. 50 at

43. DHS asserts that appeals need no fee waiver because they are optional, but that assertion makes




          DHS’s focus on credit cards is unsupported, given the evidence of immigrants’ lack of
          4

access to credit cards. See Dkt. 50-5 at 5. In any event, access to credit does not mean a person can
afford to take out—and pay back—a loan.

          For instance, the 2020 Fee Rule caps adoption-related fee increases due to “public and
          5

humanitarian interests.” 84 Fed. Reg. at 62,313 (reasoning adopted in final rule, see 85 Fed. Reg.
at 46,790). DHS does not explain why the forms for which it eliminates cost-reducing measures
do not involve similar interests. See, e.g., 85 Fed. Reg. at 46,869 (listing fee caps that the rule
retains and those that it lifts, without explaining the difference).

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no sense and, as a post-hoc, litigation assertion, should not be credited. See Dkt. 69 at 44. DHS

also does not identify any record support for DHS’s apparent conclusion that only some “Special

Immigrant Juveniles” would benefit from fee waivers. The rule suggests DHS’s determination is

based on comments, see 85 Fed. Reg. at 46,815, but commenters urged DHS to retain waivers for

all Special Immigrant Juveniles. See Fee Rule AR 194491-92, 21960; see also Dkt. 55 at 24-25.

       DHS also failed to justify its new income-based fee-waiver standard, which narrows

eligibility by replacing USCIS’s acceptance of fee-waiver applications based on receipt of means-

tested benefits, a higher income ceiling, or hardship. See Dkt. 50 at 43-45. DHS responds by

pointing to the federal poverty guidelines and variance in benefits standards. But those are

litigation-only assertions that should be ignored. See Motor Vehicle Mfrs. Ass’n of U.S. v. State

Farm Mut. Auto. Ins. Co., 463 U.S. 29, 50 (1983). These assertions also are not supported by the

record, which includes no analysis of benefits standards and fails to consider other “equitable”

alternatives. DHS’s footnote regarding hardship-based applications (at 45 n.37) misunderstands

current practice (under which individuals with hardship have multiple fee-waiver application

options), and identifies no record support for DHS’s assertion that they are unnecessary to keep

filings affordable. See 85 Fed. Reg. at 46,822; Dkt. 50 at 43-44. Regarding the new income ceiling,

DHS repeats the rule’s assertion that immigration law elsewhere uses the same figure. But DHS

failed to grapple with commenters’ concerns that (a) the figure is too low and (b) the fee-waiver

context is different from others. See Dkt. 50 at 44-45. Moreover, DHS did not consider the

combined effect of its changes to the fee-waiver standard. Without any consideration of

immigrants’ financial circumstances, the rule fails to reconcile DHS’s narrower standard with its

focus on individuals’ “financial wherewithal,” id. at 46,820, its conclusory assertion that “aliens

will [not] be prevented from filing application[s],” id. at 46,819, and its “belie[f]” that the new

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standard will not “make immigration benefits inaccessible,” id. at 46,822. See Dist. of Columbia

v. USDA, 444 F. Supp. 3d 1, 25 (D.D.C. 2020) (finding narrowing of criteria to be arbitrary and

capricious when agency failed to explain why the criteria “taken alone” reflect relevant metric).

       DHS also failed to provide a reasoned explanation for its burdensome fee-waiver

documentation requirements. See Dkt. 50 at 45-46. DHS’s opposition ignores many of plaintiffs’

arguments. For instance, DHS does not dispute that it failed to consider alternatives or explain why

it only permitted exceptions for some applicants. It attempts to place the burden on plaintiffs to

disprove DHS’s assertions about the application-rejection problems it purports to solve. See Dkt.

69 at 36. But it is DHS that is required to support its own rulemaking assertions. Regardless of the

type of problem asserted, “[p]rofessing that an [action] ameliorates a real … problem but then

citing no evidence demonstrating that there is in fact … [a] problem is not reasoned

decisionmaking.” Nat’l Fuel Gas Supply Corp. v. FERC, 468 F.3d 831, 843 (D.C. Cir. 2006).

       DHS also ignored the burdens of obtaining tax transcripts, W-2 forms, and other

documents. See Dkt. 50 at 45-46. Particularly illuminating is one comment’s explanation of the

challenges of obtaining required documentation. See Dkt. 50-5 at 345-50; see also Dkt. 50 at 46

(citing other comments). DHS points to no part of the rule or record that grapples with these

burdens, considers alternatives, or explains DHS’s documentation choices. Instead, DHS attempts

(at 47) to minimize applicants’ difficulties. But these litigating positions are also unreasoned, take

no account of immigrants’ circumstances, and reflect inaccuracies. For instance, it is not true that

appeal requests (the I-290B form) are ineligible for fee waivers. See 85 Fed. Reg. at 46,812. DHS’s

attempt to distinguish 1099 and W-2 forms is inaccurate (since people can hold multiple jobs and

receive more than one W-2 form), and its reference to the current fee-waiver form is misleading

because the form is optional; DHS accepts any appropriate documentation. See Dkt. 50 at 17.

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        As to the ways in which DHS’s imposition of new fees on asylum seekers is arbitrary and

capricious, see Dkt. 50 at 47, DHS does not contest most of the arguments. Although DHS’s

opposition disclaims the Fee Proposal’s assertion that the asylum fee was meant to deter frivolous

filings, see Dkt. 69 at 48, the 2020 Fee Rule states that it “relies on all the justifications articulated

in the” proposal “except as stated below.” 85 Fed. Reg. at 46,790. By stating that DHS does not

intend to deter “meritorious asylum claims,” id. at 46,844, the 2020 Fee Rule effectively concedes,

rather than backing away from, the proposal’s statement that deterring claims DHS deems non-

meritorious was an aim, see 84 Fed. Reg. at 62,320. Also meritless is DHS’s suggestion that it

concluded, based on “experience,” that asylum seekers can pay fees. See Dkt. 69 at 49. DHS points

to no support in the record; the suggestion conflicts with its statements disclaiming knowledge or

recognizing that, due to the asylum fee, some may not apply. See 85 Fed. Reg. at 46,882, 46,895.

        DHS also did not consider the harm the rule will cause. See Dkt. 50 at 48. DHS does not

contest that it responded to commenters’ concerns with unsupported, conclusory assertions.

Instead, it repeats those assertions. When commenters presented extensive evidence of the rule’s

harms, responding that DHS has “no data,” Dkt. 69 at 49 n.41 (quoting rule), does not constitute

reasoned decisionmaking. See Gresham v. Azar, 950 F.3d 93, 103 (D.C. Cir. 2020) (“Nodding to

concerns raised … only to dismiss them in a conclusory manner is not a hallmark of reasoned

decisionmaking.”). Additionally, DHS is wrong to suggest (at 50 n.42) that it can ignore comments

on the rule’s mailing provision. That provision regulates how immigrants receive DHS mail

through attorneys. See 85 Fed. Reg. at 46,914 (to be codified at 8 C.F.R. § 103.2(a)(19)(iii)). DHS

thus must consider comments about this provision’s effects on immigrants and their attorneys.

Finally, DHS does not establish that it considered alternatives. Its opposition mentions

appropriations, one of many alternatives, but points to no actual consideration or effort by DHS.

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IV.    The 2020 Fee Rule violates the Immigration and Nationality Act.

       The 2020 Fee Rule violates the INA, 8 U.S.C. § 1356(m), by raising fees to fund costs

other than “the full costs of providing” “adjudication and naturalization services” and

administering the IEFA fees. See Dkt. 50 at 49-50. The unlawfully funded costs include those of

SAVE (a USCIS program for providing information to government agencies), fraud deterrence

activities, and national intelligence and security work. See Dkt. 50 at 49-50. DHS does not attempt

to argue that these activities constitute “providing” “adjudication and naturalization services.”6

SAVE addresses non-adjudication needs of agencies. Deterrence is distinct from individual

benefits determinations. And USCIS’s Fraud Detection and National Security Directorate (FDNS)

pursues a variety of activities other than immigration “adjudication … services.” For instance,

FDNS “aid[s] in the resolution of national security or criminal concerns,”7 and “support[s]

programs sponsored by law enforcement agencies, such as Joint Terrorism Task Forces …. and …

fusion centers,” that address crime and terrorism, not benefits requests.8 Indeed, the order that DHS

cites shows that USCIS has been delegated general “[a]uthority to investigate alleged civil and

criminal violations of the immigration law,” which extends far beyond benefits adjudications.

DHS, Delegation No. 0150.1, at 2 (June 5, 2003), https://www.hsdl.org/?view&did=234775 (cited




       6
        DHS suggests this Court should defer to DHS’s interpretation. But section 1356(m)
unambiguously excludes the cost at issue.
       7
          USCIS, Fraud Detection and National Security Directorate (Mar. 13, 2020),
https://www.uscis.gov/about-us/directorates-and-program-offices/fraud-detection-and-national-
security-directorate (“What we do”).
       88
          DHS, DHS State and Local Law Enforcement Resource Catalog 9 (May 2018),
https://www.dhs.gov/sites/default/files/publications/18_0703_OSLLE-Resource-Catalog-
Volume-VI.pdf; see also DHS, Fusion Centers and Joint Terrorism Task Forces (July 29, 2016),
https://www.dhs.gov/fusion-centers-and-joint-terrorism-task-forces.

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at Dkt. 69 at 51). The fact that USCIS relies on delegations to conduct some or all the work at issue

is further indication that such work is not part of providing “adjudication and naturalization

services.” If it were, no delegation would be required; USCIS received adjudication authority by

statute. See 6 U.S.C. § 271(b).

       DHS suggests that Congress acquiesced in its use of IEFA funds. See Dkt. 69 at 56, 59-53.

But section 1356(m)’s outer bounds are clear, and “the suggestion of congressional acquiescence

cannot change the plain meaning of enacted text.” Citizens for Responsibility & Ethics in Wash. v.

FCC, 904 F.3d 1014, 1018 (D.C. Cir. 2018) (per curiam). The age of DHS’s violation cannot

either. See id. And at most, DHS shows Congress’s “failure to express any opinion,” which does

not establish acquiescence. Rapanos v. United States, 547 U.S. 715, 750 (2006) (plurality).

       DHS complains that USCIS does not have enough appropriated funds for its desired

activities. See Dkt. 59 at 52-53. But authorization of activities is distinct from appropriations for

any particular work. See U.S. House of Reps. v. Burwell, 130 F. Supp. 3d 53, 58-59 (D.D.C. 2015).

If there is a mismatch between the two, that is for Congress and the Executive Branch to resolve.

V.     Without temporary relief, the 2020 Fee Rule will cause irreparable harm.

       Plaintiffs have established that they will suffer great, immediate, and irreparable harm from

the 2020 Fee Rule. See Dkt. 50 at 50-54; Dkt. 50-1 at 12-20 (Second Barón Decl. ¶¶ 28-48); Dkt.

50-2 at 6-15 (Ball Cooper Decl. ¶¶ 20-35); Dkt. 50-3 at 9-14 (Escobar Decl. ¶¶31-42).

       The public interest also weighs strongly in favor of the requested relief. Plaintiffs have

shown the devasting and irreparable harms the 2020 Fee Rule will cause to immigrants across the

country. See Dkt. 50 at 54-58; see also Dkt. 51 at 6-8; Dkt. 54 at 14-18; Dkt. 55 at 10-29. Amici

emphasize that the harm will extend to cities’ and states’ economic, public safety, and health goals.

See Dkt. 51 at 8-13; Dkt. 54 at 11-14, 18-25. DHS’s attempts (at 54 n.46) to minimize this harm


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misrepresents the rule. The suggestion that domestic violence victims are fee-exempt ignores that

fee-exempt forms often require ancillary applications with high fees. See 85 Fed. Reg. at 46,840,

46,886; Dkt. 50 at 53 n.12. DHS cites the availability of fee waivers, but ignores that the 2020 Fee

Rule drastically reduces the availability of such waivers. See Dkt. 50 at 16-20. It downplays the

hardship caused by asylum fees by suggesting immigrants can seek “withholding of removal”

instead. But DHS cites a proposed rule, not a final one, regarding exempting withholding

applications from fees. See 85 Fed. Reg. at 46,793 n.17 (citing 85 Fed. Reg. 11,866, 11,871 (Feb.

28, 2020)). Moreover, withholding is not a substitute for asylum. Withholding is only available in

removal proceedings and provides less protection. See INS v. Cardoza-Fonseca, 480 U.S. 421, 429

n.6 (1987); E. Bay Sanctuary Covenant v. Trump, 950 F.3d 1242, 1276-77 (9th Cir. 2020).

       DHS’s assertion about revenue also does not overcome the extensive harm the rule will

cause. The government “cannot suffer harm from an injunction that merely ends an unlawful

practice.” Open Communities All. v. Carson, 286 F. Supp. 3d 148, 179 (D.D.C. 2017). Moreover,

DHS’s assertions about lost funds and their effects are unsupported. In issuing the rule, DHS did

not explain why this level of funding is needed or take into account the decreases in application

volume (and thus revenue) that it will cause. See Dkt. 50 at 38-48. DHS also does not do so now.

Moreover, to address short-term needs, the agency has already stated it is not relying on the 2020

Fee Rule. See 85 Fed. Reg. at 46,793 (discussing impact of coronavirus pandemic). Further, DHS

“recently determined” it can charge premium processing fees for new categories of applications,

id. at 46,866—another option it could exercise to address budget concerns.

VI.    The Court should grant relief against the entire rule.

       The Court’s remedy should apply to the entire rule and any effort by DHS to implement or

enforce it. By the plain language of the APA, the Court has authority under section 705 to stay the


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effective date of the challenged rule. That authority corresponds to the remedy authorized under

section 706 of the APA: set aside of an unlawful rule. See Nat’l Min. Ass’n v. U.S. Army Corps of

Eng’rs, 145 F.3d 1399, 1409 (D.C. Cir. 1998); see L.M.-M., 442 F. Supp. 3d at 36 (regarding

remedy for FVRA violation); see also Gomez v. Trump, __ F. Supp. 3d ___, No. 20-CV-01419

(APM), 2020 WL 5367010, at *37 (D.D.C. Sept. 4, 2020) (discussing section 705 relief); Dist. of

Columbia, 444 F. Supp. 3d at 48 (similar). Indeed, this Court could only “preserve status or rights

pending conclusion of the review,” 5 U.S.C. § 705, with a preliminary remedy that matches the

final relief in scope because without it, immigrants across the country will lose the chance to seek

benefits for which they are eligible and, as a result, face devasting harm. See Dkt. 50 at 54-58; Dkt.

51 at 6-13; Dkt. 54 at 11-25; Dkt. 55 at 10-29.

       DHS suggests that a section 705 order should be narrowed to some provisions, but fails to

specify how. Importantly, the authority granted to courts by section 705 is designed not just to

protect plaintiffs, but also to prevent injury to “the public resulting from the premature enforcement

of a determination which may later be found to be wrong.” Scripps-Howard Radio v. FCC, 316

U.S. 4, 9 (1942); see also Sampson v. Murray, 415 U.S. 61, 68 n.15 (1974) (Section 705 “was

primarily intended to reflect …the Scripps-Howard doctrine). Plaintiffs, as well as CASA’s

members, are harmed by a wide range of the rule’s provisions. See Dkt. 50-1 at 2-4 (Second Barón

Decl. ¶¶ 3-14); Dkt. 50-2 at 2, 3, 11 (Ball Cooper Decl. ¶¶ 3, 7, 26, 27); Dkt. 50-3 at 2, 3-4 (Escobar

Decl. ¶¶ 7, 13). And protecting the public requires action against all of the rule’s harmful effects.

       DHS suggests some unidentified provisions are severable. But a rule is severable only if

“the remainder of the regulation could function sensibly without the stricken provision.”

MD/DC/DE Broadcasters Ass’n v. FCC, 236 F.3d 13, 22 (D.C. Cir. 2001). That is not the case

here. The rule’s central purpose is to fund a budget that depends on the sum of its parts, and that

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DHS, in proposing the rule, suggested was an all-or-nothing proposition. See 84 Fed. Reg. at

62,288 (declining to consider ways to reduce the budget increase). Further, each fee affects others,

since DHS set individual fees to subsidize operations other than the processing of the applications,

and, in some cases, the costs of processing other applications. See generally 85 Fed. Reg. at 46,791-

92 (fee changes), 46,856 (recognizing that naturalization fee subsidizes overhead and other costs).

Even fee increases cannot neatly be separated from decreases. What may appear on the face of the

rule to be a decrease will be an increase for individuals who lose access to fee waivers or who must

pay new costs for related applications that are free under current law. See 84 Fed. Reg. at 62,303-

04 (describing new charges for previously-free “interim benefits”). Because the rule’s provisions

are thus “intertwined,” Carlson v. Postal Regulatory Comm’n, 938 F.3d 337, 351 (D.C. Cir. 2019),

to postpone, stay, or enjoin some, but not all, of the rule’s provisions would “severely distort”

DHS’s fiscal program, MD/DC/DE, 236 F.3d at 23, and not accomplish DHS’s “goals as it

described them,” MD/DC/DE Broadcasters Ass’n v. FCC, 253 F.3d 732, 736 (D.C. Cir. 2001)

(denying rehearing of earlier ruling). Indeed, the structure of DHS’s rule is analogous to a set of

first-class mail price-changes that the D.C. Circuit concluded could not be severed in Carlson.

Though the plaintiff had challenged only the first-class stamp price, that price was not severable

from other first-class prices, because, due to a class-wide rate cap, the stamp price affected the rate

that could be charged for other mail products. Carlson, 938 F.3d at 351.

       A preliminary injunction under Rule 65 should also operate against the rule in its entirety.

Again, DHS does not contest that a preliminary injunction should operate across the country, and

for good reason. The violation operates nationwide, and as in the context of section 705, the harms

to the public interest require a nationwide remedy. See Kansas v. Nebraska, 574 U.S. 445, 456

(2015) (“When federal law is at issue and the public interest is involved, a federal court’s equitable

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powers assume an even broader and more flexible character than when only a private controversy

is at stake.” (cleaned up)). Additionally, “the immigration context counsels strongly in favor of

nationwide relief,” NAACP v. Trump, 298 F. Supp. 3d 209, 243 (D.D.C. 2018), aff’d on other

grounds and remanded sub nom. DHS v. Regents of the Univ. of Calif., 140 S. Ct. 1891 (2020),

given the Constitution’s requirement for a “Uniform Rule of Naturalization,” U.S. Const. art. I,

§ 8, cl. 4, and Congress’s direction that “the immigration laws … should be enforced …

uniformly,” Pub. L. No. 99-603, § 115(1), 100 Stat. 3359, 3384 (1986). Furthermore, any

geographically-limited injunction would cause multiple practical problems, especially if it means

that other entities file duplicative litigation and receive other, limited injunctions. Cf., e.g., Gomez,

2020 WL 5367010, at *37; Dist. of Columbia, 444 F. Supp. 3d at 52; O.A. v. Trump, 404 F. Supp.

3d 109, 153 (D.D.C. 2019). It would also risk underprotecting plaintiffs from irreparable harm,

given their broad and imprecise geographical reach, see Dkt. 50-2 at 2 (Ball Cooper Decl. at ¶ 4),

Dkt. 50-3 at 2 (Escobar Decl. ¶ 5), and inter-relationship with other providers, see Dkt. 50-1 at 2,

16-17 (Second Barón Decl. ¶¶ 5, 39-40). Cf. Pennsylvania v. President United States, 930 F.3d

543, 576 (3d Cir. 2019), as amended (July 18, 2019) (recognizing necessity of nationwide relief to

prevent harm to states due to interstate effects), rev’d and remanded on other grounds sub nom.

Little Sisters of the Poor Saints Peter & Paul Home v. Pennsylvania, 140 S. Ct. 2367 (2020).

        Finally, as explained above, the Court should reject DHS’s suggestion that any preliminary

injunction be limited to a subset of the rule’s provisions. DHS’s apparent inability to specify what

such an injunction would look like underscores its inappropriateness.

                                           CONCLUSION

        For the foregoing reasons, this Court should grant plaintiffs’ motion for relief under section

705 of the APA and a preliminary injunction.


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Dated: September 23, 2020                   Respectfully submitted,

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